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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

BLAKE LIVELY,
                                                      Case No. 1:24-cv-10049 (lead case)
                     Plaintiff,
                                                      Case No. 1:25-cv-00449 (related case)
       v.
                                                      NOTICE OF APPEARANCE
WAYFARER STUDIOS LLC,
JUSTIN BALDONI, JAMEY HEATH, STEVE
SAROWITZ, IT ENDS WITH US MOVIE LLC,
MELISSA NATHAN, THE AGENCY GROUP
PR LLC, JENNIFER ABEL, JED WALLACE,
and STREET RELATIONS INC.,
                   Defendants.

JENNIFER ABEL,
                      Third-Party Plaintiff,
       v.
JONESWORKS LLC,
                      Third-Party Defendant.

WAYFARER STUDIOS LLC, JUSTIN
BALDONI, JAMEY HEATH, IT ENDS WITH
US MOVIE LLC, MELISSA NATHAN,
JENNIFER ABEL, and STEVE SAROWITZ,
                      Consolidated Plaintiffs,
       v.
BLAKE LIVELY, RYAN REYNOLDS,
LESLIE SLOANE, VISION PR, INC., and
THE NEW YORK TIMES COMPANY.
                      Consolidated Defendants.


       PLEASE TAKE NOTICE that the undersigned respectfully enters her appearance as

counsel of record in the above-captioned action for nonparties Katherine Case and Breanna Butler

Koslow, and requests that all subsequent papers be served upon her at the address indicated below.

                                   [Signature Page Follows]
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Dated: New York, New York
       June 24, 2025
                                     Respectfully submitted,
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                                     Breanna Butler Koslow




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